                        UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

  In re:                                      )       Case No. 21-13273
                                              )
  Kenneth & Heather Novak,                    )       Judge Jessica E. Price Smith
                                              )
           Debtors.                           )       Chapter 7 Case
                                              )


  David O. Simon, Chapter 7 Trustee           )       Adv. No.
  3659 Green Road, Suite 106                  )
  Beachwood, OH 44122-5715,                   )
                                              )
                          Plaintiff,          )
                                              )
           vs.                                )
                                              )
  Turnbull Law Group, LLC                     )
  c/o Christopher T. Turnbull,                )
  Statutory Agent/Manager                     )
  211 W. Wacker Drive, Suite 900              )
  Chicago, IL 60606,                          )
                                              )
                          Defendant.          )


       COMPLAINT TO AVOID AND RECOVER FRAUDULENT TRANSFERS

                                       JURISDICTION

  1.       This Court has jurisdiction over this proceeding pursuant to 28 U.S.C. §§157(a)

           and 1334 and Local General Order Number 2012-7, dated April 4, 2012.

  2.       This proceeding is a core proceeding pursuant to the provisions of 28 U.S.C.

           §157(b)(2)(A), (E), (H), and (O)




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  3.    David O. Simon is the duly appointed, acting and qualified trustee in this case

        which was commenced by the filing of a voluntary petition for relief under

        Chapter 7 of the Bankruptcy Code on September 25, 2021.

  4.    To the extent that the matters herein are determined not be core proceedings, they

        are related to the bankruptcy case referenced above and Plaintiff consents to the

        referral of this adversary proceeding to the Bankruptcy Judge to hear and

        determine and to enter appropriate orders and judgments, subject to review under

        28 U.S.C. §158.

                                        COUNT I

  6.    Prior to the commencement of this bankruptcy case and in or around April, 2020,

        the Debtors entered into a contract with Defendant pursuant to which Defendant

        was to provide “debt settlement services” to the Debtors.

  7.    According to the Debtors’ testimony, schedules and documents provided, Debtors

        paid the total sum of $16,576.00 to Defendant.

  8.    It is the Trustee’s belief, based upon the Debtors’ testimony, that the Defendant

        did not provide the services as promised and was unable to reduce Debtors’ debt

        owed to creditors.

  10.   Defendant failed to assist the Debtors in negotiating settlement of unsecured debt

        and Debtors ultimately had no choice but to file for relief in the Bankruptcy

        Court.

  11.   Debtors were damaged as a result of the Defendant’s failure to perform according

        to the terms of its contract.




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                                          COUNT II

  12.     During the period April, 2020, through August, 2021, Debtors transferred the

          amount of $16,576.00 to Defendant pursuant to a contract for debt settlement

          services.

  13.     Upon information and belief, Debtors did not receive a reasonably equivalent

          value in exchange for the foregoing transfers.

  14.     The Debtors were insolvent at the time of the foregoing transfers, or Debtors

          became insolvent as a result of the transfers.

  15.     The transfer were fraudulent conveyances pursuant to the provisions of 11 U.S.C.

          §548 and/or Chapter 1336, Ohio Revised Code.

          WHEREFORE, the Plaintiff, David O. Simon, Chapter 7 Trustee, prays for an

  award of damages for breach of contract as set forth in Count I in the amount of

  $16,576.00 or, in the alternative, on Count II that the transfers to the Defendant by the

  Debtors in the amount of $16,576.00 were avoidable fraudulent transfers pursuant to the

  provisions of 11 U.S.C. §548 and/or Chapter 1336, Ohio Revised Code, and are

  recoverable from the Defendant pursuant to 11 U.S.C. §550, together with interest and

  costs of this action.


                                                           /s/ David O. Simon
                                                           David O. Simon, #0006050
                                                           D.O. Simon Company LPA
                                                           3659 Green Road, Suite 106
                                                           Beachwood, OH 44122-5715
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